Case 2:25-cv-00241-BHS   Document 76-4   Filed 03/14/25   Page 1 of 9




                  EXHIBIT 4
     Case 2:25-cv-00241-BHS   Document 76-4   Filed 03/14/25   Page 2 of 9



                         Stenographic Transcript
                               Before the


                          COMMITTEE ON
                          ARMED SERVICES



              UNITED STATES SENATE


HEARING TO RECEIVE TESTIMONY ON THE DEPARTMENT OF DEFENSE
  BUDGET POSTURE IN REVIEW OF THE DEFENSE AUTHORIZATION

REQUEST FOR FISCAL YEAR 2019 AND THE FUTURE YEARS DEFENSE
                                PROGRAM



                        Thursday, April 26, 2018


                              Washington, D.C.



                  ALDERSON COURT REPORTING
                1155 CONNECTICUT AVENUE, N.W.
                                SUITE 200
                      WASHINGTON, D.C. 20036
                               (202) 289-2260
                       www.aldersonreporting.com
  Case 2:25-cv-00241-BHS     Document 76-4            Filed 03/14/25     Page 3 of 9           58



  1    look at what they are doing with their support for terrorism

  2    from Bahrain to Yemen, from Syria to Lebanon and elsewhere,

  3    their maritime threat, their cyber threat.                      We have got to

  4    look at all these things, sir, as a whole, but at the same

  5    time focus on this imperfect arms control agreement and

  6    determine if that is in our best interest.

  7              Senator Sullivan:       Trust factor?

  8              Secretary Mattis:       I think trust but verify would be an

  9    exaggeration.       I think it is distrust and verify.

 10              Senator Sullivan:       Thank you.

 11              Senator Inhofe:     Thank you, Senator Sullivan.

 12              Senator Gillibrand:        Thank you, Mr. Chairman.

 13              General Dunford, your fellow chiefs have told me that

 14    they are not aware of any instances of issues with unit

 15    cohesion, morale, and discipline as a result of open

 16    transgender service.          Have you heard of any such incidents?

 17              General Dunford:      Senator, thanks.          I would not

 18    typically hear of individual cases of cohesion or discipline

 19    issues.

 20              And maybe just a comment on transgender.                  For me, the

 21    issue with transgender has never been about cohesion or

 22    discipline anyway.       It was just about any individual,

 23    regardless of circumstances, being able to meet the physical

 24    and mental qualifications of being worldwide deployable.                           So

 25    if an individual is serving without accommodation, then I do

                                   Alderson Court Reporting
1-800-FOR-DEPO                                                         www.AldersonReporting.com
  Case 2:25-cv-00241-BHS     Document 76-4         Filed 03/14/25     Page 4 of 9         59



  1    not think I would expect to see discipline or cohesion

  2    issues in that unit.

  3              Senator Gillibrand:     During our last discussion on this

  4    topic, you said that you would treat all service members,

  5    including transgender service members, with dignity and

  6    respect.

  7              The recommendations on transgender service and the

  8    accompanying panel report were released as part of the DOJ’s

  9    filing on Friday night.         Service members found out in the

 10    news that the Department had submitted a report that cast

 11    dispersions on their fitness to serve, implied they could

 12    harm the lethality of the force, and left their futures in

 13    the military up in the air.

 14              Do you think this rollout accords transgender service

 15    members with the dignity and respect they deserve?

 16              General Dunford:   Senator, one thing we have tried to

 17    clarify for our men and women that are current serving is

 18    that -- and I cannot talk about any changes in the policy.

 19    But one thing that did not change was the status of the men

 20    and women that are currently serving.

 21              Senator Gillibrand:     That is not the impression the

 22    report leaves.

 23              Do you know whether this has created anxiety among

 24    these troops?       Have you met with any transgender troops

 25    given this report?

                                Alderson Court Reporting
1-800-FOR-DEPO                                                      www.AldersonReporting.com
  Case 2:25-cv-00241-BHS     Document 76-4         Filed 03/14/25     Page 5 of 9         60



  1              General Dunford:   I have not since the report was

  2    released, Senator.

  3              Senator Gillibrand:     I recommend that you do so so you

  4    are more informed.

  5              Secretary Mattis, one of the things that struck me

  6    about your panel’s report was its claim that, quote, unlike

  7    past reviews, the panel’s analysis was informed by the

  8    Department’s own data and experience obtained since the

  9    Carter policy took effect.           That is why I have been asking

 10    the chiefs about unit cohesion.              In fact, General Milley put

 11    it with regard to the Army as precisely zero instances of

 12    units with less unit cohesion, morale, and discipline.

 13              I am very concerned about this report because it says

 14    that there is, quote, scientific uncertainty surrounding the

 15    efficacy of transition-related treatments for gender

 16    dysphoria.       Yet, the American Medical, Psychological, and

 17    Psychiatric Associations have all said the report

 18    misrepresents what is the scientific consensus when it comes

 19    to gender dysphoria and transition.                 In fact, despite the

 20    report’s stated concerns about deployability of transgender

 21    service members because of gender dysphoria or associated

 22    medical care, a report being issued today by the Palm Center

 23    here, which I am going to give to you so you can read in

 24    full, says that, quote, out of 994 service members diagnosed

 25    with gender dysphoria in 2016 and the first half of 2017, 40

                                Alderson Court Reporting
1-800-FOR-DEPO                                                      www.AldersonReporting.com
  Case 2:25-cv-00241-BHS     Document 76-4         Filed 03/14/25     Page 6 of 9         61



  1    percent deployed in support of Operation Enduring Freedom,

  2    Operation Iraqi Freedom, or Operation New Dawn, and only one

  3    had an issue during that deployment.

  4              It appears that this report that your Department has

  5    issued is not based on the Department’s data or science but

  6    rather, quote, potential risks that the authors cannot back

  7    up.       And in fact, this seems to me to be the same uninformed

  8    and unfounded concerns that led to the opposition of

  9    repealing don’t ask/don’t tell, integrating women into the

 10    military, integrating African Americans into the military.

 11    And I think you need to do a lot more work on this topic to

 12    inform yourselves.

 13              What is so different about transgender service that

 14    makes you think that though the data and medical science do

 15    not justify it, transgender service will harm the readiness

 16    and lethality of our force?

 17              Secretary Mattis:    Well, Senator, I regret the way you

 18    characterize it.       I would remind you that when I came into

 19    this job, I said I do not come in with a preordained or

 20    agenda to change something.           I am in to carry three lines of

 21    effort forward.       One of them was to create a more lethal

 22    military.       And I believe that service in the military is a

 23    touchstone for patriotic Americans.                 The military protects

 24    all Americans’ freedom and liberty to live as they choose,

 25    and we are proud of that.

                                Alderson Court Reporting
1-800-FOR-DEPO                                                      www.AldersonReporting.com
  Case 2:25-cv-00241-BHS     Document 76-4          Filed 03/14/25     Page 7 of 9         62



  1              71 percent of 18 to 24-year-old men and women in this

  2    country do not qualify for medical, legal, behavioral,

  3    intellectual reasons to enlist as a private in the U.S.

  4    Army.       71 percent.

  5              In this case, I was meeting with the service chiefs and

  6    the Chairman -- not the Joint Chiefs, the service chiefs --

  7    last spring, and they were asking me questions because we

  8    were coming up on the advent of the induction of

  9    transgender.       And they wanted to know how they were going to

 10    deal with certain issues about basic training, about

 11    deployability.       I said, did you not get all of this when the

 12    policy came out?       The Carter policy we call it.                They said

 13    no.       And I said, well, did you have input?               They said no,

 14    they did not.

 15              So I convened that panel.         That panel was made up of

 16    combat veterans, the vice chiefs of the services, and the

 17    under secretaries.        And they called together transgender

 18    troops.       They brought in commanders of transgender troops,

 19    and they brought in and listened to civilian and military

 20    medical experts who have provided care for transgenders both

 21    in the military and outside.             And I gave my 44-page advice.

 22    I would like to have it entered, Chairman, for the record.

 23              [The information referred to follows:]

 24               [COMMITTEE INSERT]

 25

                                 Alderson Court Reporting
1-800-FOR-DEPO                                                       www.AldersonReporting.com
  Case 2:25-cv-00241-BHS     Document 76-4         Filed 03/14/25     Page 8 of 9           63



  1              Senator Gillibrand:     And a list of all experts you

  2    consulted, please.

  3              Secretary Mattis:    Pardon?

  4              Senator Gillibrand:     I would like a list of all the

  5    experts, medical experts, that were consulted for that

  6    report, please.

  7              Secretary Mattis:    Right now, this is under litigation.

  8    I will see what I can provide or when I can provide it.                        I

  9    will do that, Senator.

 10              But at the same time, basically my responsibility is to

 11    give the best advice I can for making a lethal force.                        And I

 12    think that right now the Carter policy is still in effect,

 13    and we have the four cases being litigated.

 14              Why these issues like this would not come to the

 15    service chief level during this was a very, very, I would

 16    call it, newsworthy situation.             And the reason is that under

 17    the Carter policy, the reporting is opaque.                   We cannot

 18    report that a problem emanated from a transgender.                      We

 19    cannot under the Carter policy do that.                So the question you

 20    have asked the service chiefs and the Chairman are ones that

 21    right now the Carter policy prohibited that very information

 22    from coming up because it is private information.                     And it is

 23    specifically called out in his policy statement.                     So it is

 24    impossible for them to have responded to you.

 25              And I would just say that right now we look at medical

                                Alderson Court Reporting
1-800-FOR-DEPO                                                      www.AldersonReporting.com
  Case 2:25-cv-00241-BHS     Document 76-4            Filed 03/14/25     Page 9 of 9          64



  1    conditions.       If gender dysphoria has anxiety or it has some

  2    kind of depression, we do not allow anyone in with that.                           I

  3    would have to make a special category that said you can have

  4    these disqualifying factors only if you are transgender, and

  5    then we can bring you in.             I think you understand why we

  6    have not chosen to do that.

  7              Senator Inhofe:     Thank you.

  8              Senator Fischer?

  9              Senator Fischer:      Thank you, Mr. Chairman.

 10              Secretary Mattis, in last year’s NDAA, Congress

 11    required the Department to evaluate whether existing cruise

 12    missile systems could be converted into a ground-launched

 13    version as part of our response to Russia’s violation to the

 14    INF Treaty.       The Department’s response, which was a letter

 15    from Under Secretary Lord, was sent to the committee 2 weeks

 16    ago.       And it states that DOD is in the early stages of

 17    identifying the system requirements and is therefore unable

 18    to conduct an assessment at this time.

 19              I know the Department is moving forward on a broader

 20    effort beyond just a ground-launched cruise missile, but I

 21    am concerned about the urgency of our response because, as

 22    we both know, we can spend the next 3 years defining

 23    requirements and analyzing alternatives and not conduct any

 24    actual research and development.

 25              So I would just ask, what is your expected timeline for

                                   Alderson Court Reporting
1-800-FOR-DEPO                                                         www.AldersonReporting.com
